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                                      Attorneys for Plaintiff,
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                                      RUBI ARIAS
                                 8

                                 9                         UNITED STATES DISTRICT COURT
                                 10                      CENTRAL DISTRICT OF CALIFORNIA
                                 11
                                                                   WESTERN DIVISION

                                 12

                                 13   RUBI ARIAS,                              Case No.: 2:17-cv-00251-PA-E
                                 14
                                                   Plaintiff,                  NOTICE OF VOLUNTARY
                                 15
                                            vs.                                DISMISSAL WITH PREJUDICE
                                 16                                            PURSUANT TO 41(a)(1)(A)(i)
                                      CITIBANK, N.A.; and DOES 1
                                 17   through 10, inclusive,
                                 18
                                                   Defendants.
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                                 21
                                            Pursuant to Federal Rule of Civil Procedure 41(a)(1)(A)(i), Plaintiff Rubi
     Encino, CA 91436




                                 22
                                      Arias, by and through her attorneys of record, respectfully requests this Honorable
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                                      Court to dismiss this matter with prejudice. Defendants have neither answered
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                                      Plaintiff’s Complaint nor filed a motion for summary judgment. Accordingly, this
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                                      matter may be dismissed with prejudice without an Order of the Court.

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                                                          NOTICE OF VOLUNTARY DISMISSAL WITH PREJUDICE
                                      Case 2:17-cv-00251-PA-E Document 12 Filed 02/17/17 Page 2 of 2 Page ID #:64




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                                                                        RESPECTFULLY SUBMITTED,
                                                                        SM LAW GROUP, APC
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                                      DATED: February 17, 2017          By: /s/ Kian Mottahedeh
                                 4                                      Kian Mottahedeh, Esq. (SBN 247375)
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                                                                        Attorneys for Plaintiff,
                                                                        RUBI ARIAS
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                                                      NOTICE OF VOLUNTARY DISMISSAL WITH PREJUDICE
